 

Case 5'07-cV-00209-TS-I\/|LH Document 5 Filed 04/18/07 Page 1 of 1 Page|D #: 26
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QQBERTH.M max wEsTERN DISTRICT oF LoUislANA
sw sHREvEPoRT olvlsloN
CARoLYN R. JoHNsoN, ET AL. cler AcTioN No. 0?_0209
versus J UDGE STAGG
MINDEN MEDICAL CENTER, ET AL. MAGisTRATE JUDGE HoRNsBY

J U D G M E N T
For the reasons assigned in the Report and Recommendation of the Magistrate Judge
previously filed herein, and having thoroughly reviewed the record, no written objections
having been filed, and concurring with the findings of the Magistrate Judge under the
applicable law;

IT IS ORDERED that this civil action be dismissed for lack of subject matter

`urisdiction.
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TH S DONE AND SIGNED at Shreveport, Louisiana, this day of
, 2007.

 

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